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                                                                         7                                    UNITED STATES DISTRICT COURT
                                                                         8                                 NORTHERN DISTRICT OF CALIFORNIA
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                                                                              IN RE: LITHIUM ION BATTERIES
                                                                         10
                                                                              ANTITRUST LITIGATION
United States District Court




                                                                         11                                                          No. C-13-02420-YGR (DMR)
                                                                              ___________________________________/
                               For the Northern District of California




                                                                         12                                                          NOTICE OF AMENDED DISCOVERY
                                                                                                                                     PROCEDURES
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                                                                              TO ALL PARTIES AND COUNSEL OF RECORD:
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                                                                                     The above matter was referred to Magistrate Judge Donna M. Ryu for resolution of
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                                                                              discovery disputes. Judge Ryu's amended discovery procedures are set forth below, and should be
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                                                                              followed in all discovery disputes filed after the date of this notice.
                                                                         18
                                                                                                         RESOLUTION OF DISCOVERY DISPUTES
                                                                         19
                                                                                     In order to respond to discovery disputes in a flexible, cost-effective and efficient manner,
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                                                                              the court uses the following procedure. The parties shall not file formal discovery motions. Instead,
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                                                                              as required by the federal and local rules, the parties shall first meet and confer to try to resolve their
                                                                         22
                                                                              disagreements. The meet and confer session must be in person or by telephone, and may not be
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                                                                              conducted by letter, e-mail, or fax. If disagreements remain, the parties shall file a joint letter no
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                                                                              later than five business days after the meet and confer session, unless otherwise directed by the
                                                                         25
                                                                              court. Lead trial counsel for both parties must sign the letter, which shall include an attestation
                                                                         26
                                                                              that the parties met and conferred in person or by telephone regarding all issues prior to filing the
                                                                         27
                                                                              letter. The letter must also include a paragraph listing relevant case management deadlines,
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                                                                         1    including (1) the fact and expert discovery cut-off dates; (2) the last day to hear or file dispositive
                                                                         2    motions; (3) claim construction or class certification briefing deadlines and hearing dates; and (4)
                                                                         3    pretrial conference and trial dates. Going issue-by-issue, the joint letter shall describe each
                                                                         4    unresolved issue, summarize each party’s position with appropriate legal authority, and provide each
                                                                         5    party’s final proposed compromise before moving to the next issue. The joint letter shall not exceed
                                                                         6    eight pages (12-point font or greater; margins no less than one inch) without leave of court. Parties
                                                                         7    are expected to plan for and cooperate in preparing the joint letter so that each side has
                                                                         8    adequate time to address the arguments. In the rare instance that a joint letter is not possible,
                                                                         9    each side may submit a letter not to exceed three pages, which shall include an explanation of why a
                                                                         10   joint letter was not possible. The parties shall submit one exhibit that sets forth each disputed
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                                                                         11   discovery request in full, followed immediately by the objections and/or responses thereto. No other
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                                                                         12   information shall be included in the exhibit. No other exhibits shall be submitted without prior court
                                                                         13   approval. The court will review the submission(s) and determine whether formal briefing or
                                                                         14   proceedings are necessary. Discovery letter briefs must be e-filed under the Civil Events
                                                                         15   category of Motions and Related Filings > Motions - General > "Discovery Letter Brief".
                                                                         16          The court has found that it is often efficient and beneficial for counsel to appear in person at
                                                                         17   discovery hearings. This provides the opportunity to engage counsel, where appropriate, in
                                                                         18   resolving aspects of the discovery dispute while remaining available to rule on disputes that counsel
                                                                         19   are not able to resolve themselves. For this reason, the court expects counsel to appear in
                                                                         20   person. Permission to attend by telephone may be granted upon written request made at least one
                                                                         21   week in advance of the hearing if the court determines that good cause exists to excuse personal
                                                                         22   attendance, and that personal attendance is not needed in order to have an effective discovery
                                                                         23   hearing. The facts establishing good cause must be set forth in the request.
                                                                         24          In emergencies during discovery events (such as depositions), any party may, after
                                                                         25   exhausting good faith attempts to resolve disputed issues, seek judicial intervention pursuant to Civil
                                                                         26   L.R. 37-1(b) by contacting the court through the courtroom deputy. If the court is unavailable, the
                                                                         27   discovery event shall proceed with objections noted for the record.
                                                                         28                              CHAMBERS COPIES AND PROPOSED ORDERS



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                                                                         1             Pursuant to Civil L.R. 5-1(e)(7) and 5-2(b), parties must lodge an extra paper copy of certain
                                                                         2    filings and mark it as a copy for “Chambers.” All chambers copies should be three-hole punched,
                                                                         3    and must include tabs between exhibits.
                                                                         4             Any stipulation or proposed order submitted by an e-filing party shall be submitted by email
                                                                         5    to dmrpo@cand.uscourts.gov as a word processing attachment on the same day the document is e-
                                                                         6    filed. This address should only be used for this stated purpose unless otherwise directed by the
                                                                         7    court.
                                                                         8                                             PRIVILEGE LOGS
                                                                         9             If a party withholds responsive information by claiming that it is privileged or otherwise
                                                                         10   protected from discovery, that party shall promptly provide a privilege log that is sufficiently
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                                                                         11   detailed for the opposing party to assess whether the assertion of privilege is justified. Unless the
                               For the Northern District of California




                                                                         12   parties agree to alternative logging methods, the log should include: (a) the title and description of
                                                                         13   the document, including number of pages or Bates-number range; (b) the subject matter addressed in
                                                                         14   the document; (c) the identity and position of its author(s); (d) the identity and position of all
                                                                         15   addressees and recipients; (e) the date the document was prepared and, if different, the date(s) on
                                                                         16   which it was sent to or shared with persons other than its author(s); and (f) the specific basis for the
                                                                         17   claim that the document is privileged or protected. Communications involving trial counsel that
                                                                         18   post-date the filing of the complaint need not be placed on a privilege log. Failure to promptly
                                                                         19   furnish a privilege log may be deemed a waiver of the privilege or protection.
                                                                         20            IT IS SO ORDERED.
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                                                                         22            Dated: August 11, 2014
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                                                                                                                                             DONNA M. RYU
                                                                         24                                                                  United States Magistrate Judge
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